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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1043V
                                        UNPUBLISHED


    KAREN HOISINGTON,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: August 27, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Kristen Linnea Blume, Richard Gage P.C., Cheyenne, WY, for petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

       On July 18, 2019, Karen Hoisington filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barré Syndrome (“GBS”) as
a result of an influenza (“flu”) vaccination administered on October 25, 2017. Petition at
1. The case was assigned to the Special Processing Unit of the Office of Special Masters.

       On August 26, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent concluded that Petitioner suffered GBS following a flu
vaccine within the Table time period, and there is not a preponderance of medical
evidence that Petitioner’s GBS was due to a factor unrelated to the vaccination. Id. at 5.

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Respondent further agrees that the claim meets the statutory severity requirements
because Petitioner experienced sequelae of GBS for more than six months. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                               s/Brian H. Corcoran
                               Brian H. Corcoran
                               Chief Special Master




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